     Case: 1:19-cv-01875 Document #: 25 Filed: 09/12/19 Page 1 of 2 PageID #:69




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    NORTHERN DISTRICT OF ILLINOIS


       William B. Logan Jr.,                                Case No. 19 C 1875

                                                            Judge Marvin E. Aspen
        Plaintiff,

        v.

       BH 92 Trucking, Inc., et al.,

       Defendants.


                                     NOTICE OF FILING


PLEASE TAKE NOTICE that I have filed with the clerk of the United States District court for
the Northern District of Illinois, Eastern Division, this 12th day of September, 2019, the attached
Plaintiff’s Petition for Fees and Case Cost, in the above captioned matter.


                                             RESPECTFULLY SUBMITTED,

                                             By:     s/Michael I. Leonard
                                                     One of the Attorneys for Plaintiff



                                CERTIFICATE OF SERVICE

       I, Michael I. Leonard, hereby certify that I have caused to be served via certified mail a
copy of the aforementioned documents on the parties whom said notice is direct on this 12th day
of September 2019.


                                             RESPECTFULLY SUBMITTED,

                                             By:     s/Michael I. Leonard
                                                     One of the Attorneys for Plaintiff
     Case: 1:19-cv-01875 Document #: 25 Filed: 09/12/19 Page 2 of 2 PageID #:69




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